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 5
         Former Attorneys for TRC Companies, Inc.
 6
                                   UNITED STATES BANKRUPTCY COURT
 7
                                   NORTHERN DISTRICT OF CALIFORNIA
 8
                                           SAN FRANCISCO DIVISION
 9
        In re:                                                   Case No.     19-30088 (DM)
10                                                                            19-30089 (DM)
        PG&E CORPORATION,
11                                                               Chapter 11

12               - and -                                         (Jointly Administered)

13      PACIFIC GAS AND ELECTRIC COMPANY,                        NOTICE OF WITHDRAWAL OF
                                                                 APPEARANCE OF COUNSEL
14                              Debtors.
15

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19               PLEASE TAKE NOTICE that John D. Fiero (“Fiero”) has hereby withdrawn as counsel of

20      record for TRC Companies, Inc. in the above-captioned jointly administered matters. Please remove

21      Fiero from all email notifications and service of any documents filed in this action.

22      Dated: August 18, 2022                        PACHULSKI STANG ZIEHL & JONES LLP
23
                                                      /s/ John D. Fiero
24                                                    John D. Fiero
25                                                    Former Attorneys for TRC Companies, Inc.
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     Case: 19-3008884993/001
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